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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   October 20, 2020
                                                                                  David J. Bradley, Clerk

                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

        ESTATE OF SHELLEY               §   CIVIL ACTION NO.
        MOTT, DECEASED;                 §   4:18-cv-04213
        STEPHANIE SMITH;                §
        HIRAM MOTT; AND                 §
        GLENDA MOTT,                    §
                  Plaintiffs,           §
                                        §
                                        §
                vs.                     §   JUDGE CHARLES ESKRIDGE
                                        §
                                        §
        FCA US LLC;                     §
        CHRYSLTER GROUP,                §
        LLC; FABTECH                    §
        INDUSTRIES, INC, et al,         §
                   Defendants.          §

                        ORDER ADOPTING
                 MEMORANDUM AND RECOMMENDATION

           Before the Court are several rulings by Magistrate Judges
       Nancy Johnson and Sam Sheldon. Dkts 199, 235. All objections
       are overruled.
           The district court conducts a de novo review of those
       conclusions of a magistrate judge to which a party has specifically
       objected. See 28 USC § 636(b)(1)(C); United States v Wilson, 864
       F2d 1219, 1221 (5th Cir 1989). To accept any other portions to
       which there is no objection, the reviewing court need only satisfy
       itself that no clear error appears on the face of the record. See
       Guillory v PPG Industries Inc, 434 F3d 303, 308 (5th Cir 2005), citing
       Douglass v United Services Automobile Association, 79 F3d 1415, 1420
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       (5th Cir 1996); see also FRCP 72(b) Advisory Comm Note
       (1983).
           As to the order by Magistrate Judge Johnson. Magistrate Judge
       Johnson entered a minute order resolving eleven various
       motions. Dkt 199. Plaintiffs filed a timely objection to three of
       those rulings. Dkt 203. Defendants FCA US LLC and Fabtech
       Industries, Inc filed responses urging adoption of the order of
       the Magistrate Judge in full. Dkts 207, 208.
            Plaintiffs object to the granting of the underlying joint motion
       to compel testing, arguing that the testing is unnecessary and
       expensive. Dkt 203 at 7–8. Plaintiffs also object to the denial of
       their motion to compel production from FCA on the ground that
       FCA dumped undifferentiated documents into a repository of
       unrelated documents, making it difficult for Plaintiffs to find
       relevant documents. Id at 10. Plaintiffs further object to the
       denial of their motion to compel a scheduling order, arguing that
       the case is over five years old, and they would like to proceed to
       trial. Id at 11.
           The Court has reviewed the pleadings, the record, the
       applicable law, and the objections. The Court has also reviewed
       de novo the minute order of the Magistrate Judge. The Court finds
       that the objections of Plaintiffs lack merit. No other clear error
       appears.
           As to the Memorandum and Recommendation by Magistrate Judge
       Sheldon. Magistrate Judge Sheldon entered a Memorandum and
       Recommendation to resolve a motion by Plaintiffs for partial
       summary judgment for resolution of liability against Defendants.
       He recommended denying the motion. Dkt 235 at 11.
          Plaintiffs filed a timely objection. Dkt 237. They object to the
       Memorandum and Recommendation, arguing that it fails to
       consider the “gross inadequacies of the Defendants Expert
       Theories.” Id. at 1. Plaintiffs assert that the “improperly
       supported speculative theories” should have resulted in the




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       Magistrate Judge granting the motion for partial summary
       judgment. Id at 2.
           FCA and Fabtech filed responses urging adoption in full.
       Dkts 254, 256. FCA responds that Plaintiffs failed to satisfy the
       summary judgment standard—and indeed, that Plaintiffs go so
       far as to insist “that their retained experts’ opinions are somehow
       entitled to additional or greater weight, effectively trumping
       and/or entirely disproving the facts, evidence, and opinions
       offered by defense experts.” Dkt 254 at 6. Fabtech responds that
       Plaintiffs waived their right to attack and exclude evidence from
       Defendants’ experts. Dkt 256 at 5. This is so, they say, because a
       previous motion by Plaintiffs to strike experts was denied, and
       any objections to that denial are untimely. Ibid.
           The Court has reviewed the pleadings, the record, the
       applicable law, and the objections. The Court has also reviewed
       de novo the recommendation of the Magistrate Judge. The Court
       finds that the objection of Plaintiffs lacks merit. No other clear
       error appears.
          IT IS ORDERED:
          The objection of Plaintiffs to the minute order of Magistrate
       Judge Johnson is OVERRULED. Dkt 203.
          The minute order is ADOPTED as the Order of this Court. Dkt
       199.
         The joint motion by Defendants to compel testing is
       GRANTED. Dkt 162.
         The motion by Plaintiffs to compel production by FCA is
       DENIED. Dkt 192.
         The motion by Plaintiffs to compel scheduling order is
       DENIED. Dkt 191.
          The objection of Plaintiffs to the Memorandum and
       Recommendation of Magistrate Judge Sheldon is OVERRULED.
       Dkt 237.




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         The Memorandum and Recommendation is ADOPTED as the
       Memorandum and Order of this Court. Dkt 235.
         The motion by Plaintiffs for partial summary judgment is
       DENIED. Dkt 94.
          The motion by Plaintiffs to file a reply is GRANTED. Dkt 140.
           SO ORDERED.

           Signed on October 20, 2020, at Houston, Texas.



                                   Hon. Charles Eskridge
                                   United States District Judge




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